       Case 2:12-cr-00049-RMP          ECF No. 601        filed 02/10/17      PageID.3305 Page 1 of 2
 PROB 12C                                                                           Report Date: February 9, 2017
(6/16)

                                      United States District Court

                                                     for the

                                       Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Samuel William Wright                   Case Number: 0980 2:12CR00049-RMP-3
 Address of Offender: Geiger Corrections Center
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U. S. District Judge
 Date of Original Sentence: September 26, 2013
 Original Offense:       Distribution of a Mixture of Substance Containing a Detectable Amount of Heroin, 21
                         U.S.C. § 841(a)(1)
 Original Sentence:      Prison 63 months                  Type of Supervision: Supervised Release
                         TSR - 36 months
 Amended Sentence:       Prison-51 months
 July 23, 2015           TSR-36 months
 Asst. U.S. Attorney:    Matthew F. Duggan                 Date Supervision Commenced: February 16, 2016
 Defense Attorney:       Federal Defender’s Office         Date Supervision Expires: February 15, 2019

                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 01/12/2017.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            3           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: Mr. Wright violated the terms of his supervised release in Spokane,
                        Washington, on January 6, 2017, being arrested for third degree driving while license
                        suspended (DWLS), case number PX0170001.
            4           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: Samuel Wright violated the terms of his supervised release in
                        Spokane, Washington, on January 6, 2017, by allegedly committing a new felony law
                        violation, second degree taking a motor vehicle without permission, cause number 17-1-
                        00464-3.
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          5           Special Condition #16: You shall abstain from alcohol and shall submit to testing
                      (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                      than six tests per month, in order to confirm continued abstinence from this substance.

                      Supporting Evidence: Mr. Wright violated the terms of his supervised release in Spokane,
                      Washington, on January 6, 2017, by allegedly consuming alcohol. Mr. Wright was pulled
                      over for driving under the influence on January 6, 2017. Within the report of investigation,
                      case number 17-000529, the trooper reports that Mr. Wright self disclosed he had been
                      “drinking a little bit.”
                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     02/09/2017
                                                                            s/Joshua D. Schull
                                                                            Joshua D. Schull
                                                                            U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the case.
 [X ]     Defendant to appear before the Magistrate Judge.
 [ ]      Other


                                                                            Signature of Judicial Officer
                                                                                    2/10/2017
                                                                            Date
